                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 18−10511−tmd
                                                                            No.:
                                                                    Chapter No.: 11
                                                                          Judge: Tony M. Davis
IN RE: Ronco Holdings, Inc. , Debtor(s)




                                  NOTICE OF STATUS HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   6/18/18 at 01:30 PM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 1 Voluntary Petition under Chapter
     11 (Non−Individual) Without Schedules, Without Statement of Financial Affairs, With Attorney Disclosure of
     Compensation Filed By Ronco Holdings, Inc.. −Declaration for Electronic Filing due by 05/1/2018) Status
     Hearing Set For 6/18/2018 at 01:30 PM at Austin Courtroom 1 ...COURT REQUEST THE HEARING...
     (Lopez, Jennifer)


Dated: 5/15/18
                                                          Yvette M. Taylor
                                                          Clerk, U. S. Bankruptcy Court




                                                                                     [Status Hearing Notice (BK)] [NtcsthrgBKap]
